                                      AFFIDAVIT
                                          OF
                                   CURTIS J. BRYANT
                           FEDERAL BUREAU OF INVESTIGATION

          I, Curtis J. Bryant, being duly sworn, depose and state as follows:

          1.     I am a Special Agent (SA) with the Federal Bureau of Investigation (FBI), and have

been since 2002. I am currently assigned to the Kansas City Division, Jefferson City Resident

Agency in Jefferson City, Missouri. As such, I am authorized to investigate violations of laws of

the United States and to execute warrants issued under the authority of the United States. Prior to

becoming an FBI SA, I was a Patrolman with the City of Statesboro, Georgia, a Special Agent

with the Georgia Bureau of Investigation, and a State Trooper with the Missouri State Highway

Patrol.

          2.     Throughout my career, I have been involved in the investigations of numerous types

of offenses against the United States, and have written and obtained arrest/search warrants related

to such. Your Affiant is presently assigned as one of the primary investigative officers for the

matters described herein. The facts in this affidavit are derived from your Affiant’s personal

observations, his training and experience, consultation with professionals in the applicable forensic

science fields, and information obtained from other agents, detectives, investigators, officers, and

witnesses. This affidavit is intended to show merely that there is sufficient probable cause to prove

a violation of Title 18, United States Code, Sections 844(f)(1).

                  a.       A person violates 18 U.S.C. § 844(f)(1) by maliciously damaging or
          destroying, or attempting to damage or destroy, by means of fire or an explosive, any
          building, vehicle, or other personal or real property in whole or in part owned or possessed
          by any institution or organization receiving Federal financial assistance. A violation of
          this statute is punishable by a term of imprisonment for not less than five years and not
          more than twenty years imprisonment.

                 b.     The term “explosive or incendiary device” is defined at 18 U.S.C.
          § 232(5)(C) and includes any incendiary bomb or grenade, fire bomb, or similar device,




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       including any device which (i) consists of or includes a breakable container including a
       flammable liquid or compound, and a wick composed of any material which, when ignited,
       is capable of igniting such flammable liquid or compound, and (ii) can be carried or thrown
       by one individual acting alone.

                                       PROBABLE CAUSE

       3.         Planned Parenthood Great Plains operates the Columbia Health Center of

Columbia, MO, located at 711 N. Providence Road, Columbia, Missouri (referred to as “Planned

Parenthood” throughout this affidavit). Planned Parenthood provides reproductive health services,

including birth control, HIV testing, LGBQT services, men’s health care, morning-after pill

(emergency contraception), pregnancy testing and services, STD testing, treatment, and vaccines,

and women’s health care. Planned Parenthood receives federal funding related to the provision of

these services.

       4.         On February 10, 2019, at approximately 4:05 a.m., the Columbia Fire Department

(CFD) was notified of a fire alarm at Planned Parenthood. Upon their arrival, CFD observed that

the north exterior door of the building, which was constructed of glass inside a frame, had been

shattered and an accelerant fueled fire set therein. The fire was fully extinguished by a fire

sprinkler system before CFD arrived, and only moderate fire damage was observed to the room

and contents therein. During subsequent investigation at the scene of the arson, CFD, FBI, and

Columbia Police Department (CPD) investigators located and collected several items of evidence

including, but no limited to, the following:

               a.      Two (2) five-gallon buckets, one inside of the other, found lying on the
       floor, just inside the broken doorway, near the origin of a spilled accelerant, later
       determined to be gasoline. The outer bucket was a white colored Westlake Ace Hardware
       brand bucket with two small diameter holes drilled into the bottom. The inner bucket was
       a royal blue colored Lowe’s brand bucket with SKU number 51596 99021 printed on the
       side. The Lowe’s bucket contained gasoline, but was otherwise unsoiled, as if new. When
       the two buckets were separated under forensic examination, the bottom of the Westlake
       Ace Hardware bucket was found to contain various types of debris including, but not
       limited to, black plastic shavings; three (3) round black plastic discs, approximately 2” in

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       diameter, with a hole in the middle of the discs and a recessed semicircle pattern traversing
       across the center of each; a sawn piece of plywood; and hairs.

               b.      A royal blue colored lid, that appeared to have been manufactured to cover
       a Lowe’s brand bucket, was found lying close to the five-gallon buckets. Adhered to the
       lid was stickered SKU number 98262 50649.

             c.     A used pair of silver colored Ansell HyFlex brand gloves, size 10, model
       number 11-727, that cover the hands and wrists.

               d.     The apparent glass remnants of a Molotov cocktail constructed with a
       Mason jar, metal lid, and wicking material, located at the base of the south wall of the
       interior room, directly across the room from the broken glass door.

       5.     During the investigation, investigators obtained and reviewed surveillance video

from Planned Parenthood and from neighboring businesses, facilities, establishments, and private

residences surrounding Planned Parenthood.

       6.     Review of these surveillance videos revealed the following:

               a.       On February 10, 2019, at approximately 2:30 a.m., a two tone gold/gray
       Toyota Sienna minivan, manufactured circa late 1990’s through the early 2000’s, with the
       distinctive characteristic of a forward leaning B pillar and a missing right front passenger-
       side hubcap, turned east onto 4th Avenue from King Avenue and entered the north parking
       lot of the Central Missouri Community Action Administrative Offices (CMCA), 807 N.
       Providence Road, Columbia, Missouri. CMCA is located north of, and adjacent to,
       Planned Parenthood along the west side of Providence Road. The minivan then drove to
       the south end of the parking lot where it backed into a parking space along the north side
       of CMCA’s building. At approximately 2:38 a.m., the minivan departed the parking lot on
       westbound 4th Avenue, the proceeded to southbound Grand Avenue where it parked in the
       vicinity of the intersection of Grand Avenue and E. Sexton Road.

               b.     Soon thereafter, the suspect, who has since been identified as WESLEY
       BRIAN KASTER, walked empty handed back to the parking lot of CMCA following the
       same route he had just driven, and revisited the location where the van previously parked.
       A short time later, at approximately 2:48 a.m., KASTER emerged from this location and
       walked south along the east side of CMCA carrying a seemingly heavy, white colored
       object consistent in size and shape to the above described Westlake Ace Hardware brand
       bucket. After pausing in the shadows on the south side of CMCA, KASTER walked to the
       north exterior door of the Planned Parenthood building, arriving there at approximately
       2:50 a.m.

               c.     Standing on the sidewalk outside the north door, KASTER could be more
       clearly seen with a white five (5) gallon bucket at his feet and what appeared to be a dark

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       colored five (5) gallon bucket inside of the white bucket. KASTER was wearing a head
       covering, a zip front collared jacket with a logo or closed pocket on the left breast, pants
       that were darker than the jacket, and large, solid colored, boot-like shoes. Despite the head
       covering, KASTER’s white skin could be seen on his face and neck. Field analysis of
       video surveillance also revealed KASTER was approximately six feet tall and walked with
       a distinct gait whereby he stepped out with a fully extended leg and landed on the heels of
       his feet with the front of each foot extending upward at approximately a forty-five (45)
       degree angle relative to the ground. He also swung his arms forward and backward
       vigorously as he walked.

               d.      After breaking the glass door and placing the bucket inside the building,
       KASTER threw a Molotov cocktail type incendiary device inside the building through the
       broken glass door. 1 KASTER remained, standing on the sidewalk outside the door,
       watching the inside of the building. KASTER then entered the building through the broken
       door. No explosion or fire was visible at this time. At approximately 2:52 a.m., KASTER
       fled east across Providence Road as two (2) unidentified pedestrians approached walking
       south along the west sidewalk of Providence Road. KASTER then walked north along the
       east side of Providence Road while the unknown pedestrians continued walking south. At
       this point, KASTER’s head appeared to be uncovered revealing he was likely bald or had
       indiscernible hair. Once at 4th Avenue, KASTER crossed back to the west side of
       Providence Road and continued walking west along 4th Avenue to southbound Grand
       Avenue where his vehicle was parked, and drove away. At this point in time, there was no
       discernable smoke or active fire at Planned Parenthood.

              e.      At approximately 4:00 a.m., KASTER returned, again walking east along
       4th Avenue. No vehicle was observed. KASTER then crossed to the east side of
       Providence Road, walked south on the sidewalk, then crossed back to the west side of
       Providence in the vicinity of Planned Parenthood. At approximately 4:02 a.m., KASTER
       then re-approached the Planned Parenthood door with an undiscernible item in his left
       hand. At 4:03 a.m., smoke is visible billowing from the broken glass door of the Planned
       Parenthood building. KASTER fled north along the west side of Providence Road, and
       west along 4th Avenue, out of view.

       7.      In an effort to generate investigative leads, a query was conducted of Missouri

Department of Revenue (DOR) records for all Toyota Sienna minivans, manufactured between

1998 and 2002, with a two-tone package, registered in Boone, Cole, Audrain, Callaway, and




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  As noted below the components of a Molotov cocktail type, incendiary device were recovered
from Planned Parenthood. It is visible that the glass to the north door of Planned Parenthood was
intact prior to the suspect’s arrival. After the suspect’s arrival, broken glass is visible on the
sidewalk by the north door. Surveillance video did not capture the suspect break the glass because
the panning camera was rotated away from the north door when the glass was broken.
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Cooper Counties, Missouri. The query results were then filtered to only those vehicles registered

within Columbia city limits. Approximately 55 vehicles were identified, one of those was

registered to KASTER.

        8.       A request was also made to Lowe’s for a list of all purchases of the Lowe’s brand,

royal blue-colored five (5) gallon bucket, SKU 51596 99021, and lid, SKU 04812 08601,

purchased together, from January 1, 2019 through February 10, 2019, from the Columbia,

Moberly, and Jefferson City-based stores. Lowe’s records identified sixty-five (65) separate

purchases.    KASTER made one of those purchases with cash on February 8, 2019, at

approximately 9:40 a.m. at the Lowe’s store located at 201 Conley Road, Columbia, Missouri. A

review of the Lowe’s in-store surveillance video identified the purchaser as a white male wearing

a dark-colored stocking hat with light horizontal stripes; a tan-colored, zip-front collared jacket

with a left breast pocket; dark-colored pants; and gloves that hung from the right side of his waist.

Furthermore, the white male had a similar gait as the suspect, as well as similar height and weight.

The white male entered Lowe’s at approximately 9:22 a.m., and exited the store at approximately

9:40 a.m.

        9.      This Lowe’s store is located in a strip mall with a Sam’s Club and a Hy-Vee. A

review of external surveillance video recorded on February 8, 2019, at Sam’s Club, located

immediately south of Lowe’s, during the same approximate time, captured a gold/gray colored

two-toned, older model Toyota Sienna as it was driving in front of Sam’s Club at approximately

9:19 a.m. in the direction of the neighboring Lowe’s. The Toyota Sienna appeared to be the same

vehicle identified in surveillance video captured near Planned Parenthood in the CMCA parking

lot at the time of the arson.




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       10.     A review of external surveillance video recorded on February 8, 2019, at Hy-Vee,

located south of Sam’s Club, during the same approximate time captured this same gold/gray two-

toned, older model Toyota Sienna in the Hy-Vee parking lot at approximately 9:09 a.m. A white

male, dressed in clothing consistent with that worn by the white male captured by Lowe’s in-store

surveillance video who had purchased a Lowe’s brand five (5) gallon bucket and lid at

approximately 9:40 a.m., exited the Toyota Sienna and entered Hy-Vee. The gloves that hung

from the right-side of his waist while he was in Lowe’s were still observed; however, the white

male was not wearing a hat, which revealed that he had a bald/shaved head.

       11.     Hy-Vee personnel identified that the white male purchased items with cash, and as

such, the store was not able to provide identifying information based on method of payment. When

the white male exited the store, Hy-Vee surveillance video clearly captured his face and physical

features. The white male had a shaved head and a vertical strip of longer hair located on his chin,

commonly referred to as a “chin strip.” Hy-Vee surveillance video captured the white male get

into the two-toned, older model Toyota Sienna and drive in the direction of Lowe’s. The Hy-Vee

video showed that the Toyota Sienna was missing the right front passenger-side hubcap.

       12.     From the Hy-Vee images of the white male, a comparison was made with DOR

photos of those individuals identified as having registered Toyota Siennas, manufactured between

1998 and 2002, with a two-tone package, as noted above. The white male captured on the Hy-Vee

images was positively identified as WESLEY BRIAN KASTER, date of birth January 27, 1977,

residing at 3807 North Oakland Gravel Road, Columbia, Missouri. KASTER’s Missouri DOR

photo shows him with a shaved head and chin strip style facial hair. According to KASTER’s

Missouri Driver’s License information, he is 5’11” and 175 pounds.




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       13.      A further query of Missouri DOR records for vehicles registered to KASTER

included the following:

             a.    a 2003 Toyota Sienna, VIN 4T3ZF19C33U536434, Missouri license plate
       number KP5 K9U; and,

             b.   a 2001 Toyota Sienna, VIN 4T3ZF13C31U354237, Missouri license plate
       number WE7J3J;

       14.      On February 26, 2019, a gold/gray two-toned Toyota Sienna was observed at

KASTER’s residence with Missouri license plate number KP5 K9U. The Toyota Sienna was

missing the right front passenger-side hubcap. The vehicle appeared to be the same vehicle

captured by Hy-Vee and Sam’s Club external surveillance camera video on February 8, 2019, and

surveillance camera footage of the CMCA parking lot on February 10, 2019.

       15.      According to fourth quarter wage reporting to the Missouri Department of Labor,

KASTER was employed in Jefferson City, Missouri, at a light manufacturing business. On

February 27, 2019, contact with a representative from this business confirmed KASTER was

currently employed as a floor supervisor in the welding shop. KASTER routinely worked the

11:30 p.m. to 7:30 a.m. shift during the week. The business advised that on Friday, February 8,

2019, KASTER left the business after his shift at approximately 8:40 a.m. driving a two-toned

minivan.     The business’ representative confirmed that KASTER next reported to work at

approximately 10:38 p.m. on Sunday, February 10, 2019.

       16.      The business’ representative advised the company tracked work supplies issued to

its employees, including KASTER. The business’ records reflected that on both January 23, 2019,

and January 27, 2019, KASTER acquired a pair of silver-colored Ansell HyFlex gloves, size 10,

model number 11-727. These gloves are cut and abrasion resistant and are job specific. The gloves




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acquired by KASTER from this business were the same make, model, color, and size gloves

recovered from the Planned Parenthood arson scene.

       17.     A social media search for accounts associated with KASTER, his wife, and other

immediate family members was conducted. Included in the photographs observed were pictures

of WESLEY BRIAN KASTER wearing a tan-colored, zip-front collared jacket with a left breast

pocket consistent with the jacket seen surveillance video from Lowes, Hy-Vee, and Planned

Parenthood.

       18.     On October 25, 2015, a picture was posted to the Facebook page of KASTER’s

wife depicting a handgun and the words, “Guns Don’t Kill People, Planned Parenthood Kills

People.”

       19.     On March 2, 2019, multiple federal search warrants were executed in furtherance

of this investigation. One search warrant for KASTER’s 2003 Toyota Sienna minivan displaying

Missouri registration KP5-K9U was executed a few minutes after KASTER left his workplace in

Jefferson City. The vehicle was towed to an FBI facility for processing and, as of the date of this

affidavit, the findings are undetermined. During the execution of the warrant, investigators

observed the right front passenger-side hubcap was still missing. All other hubcaps were present.

Investigators also observed KASTER was wearing a striped knit stocking cap, tan zip-front

collared jacket with a pocket on the left breast, and sizeable brown leather work boots.

       20.     KASTER traveled with investigators to the Jefferson City FBI office for the

execution of another search warrant for hair specimens from KASTER’s body. Investigators

advised KASTER of his Miranda Rights. Subsequently, KASTER consented to interview. During

a brief interview, KASTER confirmed his employment, including the fact that he worked with

steel and did welding. Before beginning more direct questioning, investigators asked KASTER if


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he had committed any criminal offenses in the past several weeks, relevant to the FBI, to which he

wanted to voluntarily confess. After stating, “No.” KASTER sought clarification as to whether

investigators were referring to traffic violations. After being told no, KASTER again advised he

had nothing to confess. KASTER was then specifically asked if he had anything to confess from

the early morning hours of February 10, 2019, in Columbia, Missouri. KASTER replied by asking

investigators to be more specific. Investigators cautioned KASTER that they were not asking

questions they did not already know the answer to, and that KASTER’S request suggested he did

not intend to be honest. Investigators ceased any further questioning.

       21.       KASTER remained inside the Jefferson City FBI office to await the arrival of the

FBI Evidence Response Team (ERT) whose members were trained to obtain the required hair

specimen from KASTER. KASTER, who had not been handcuffed at any time prior, was placed

into handcuffs for the duration of the collection at the request of ERT agents. Following the hair

collection, KASTER was immediately un-handcuffed. Investigators advised KASTER he was free

to go and could wait anywhere he liked, but that investigators would drive him home if he was

willing to wait. KASTER asked to wait in the interview room for a ride home.

       22.       As investigators were executing the above detailed federal search warrants for

KASTER’s minivan and hair, other investigators were simultaneously executing additional search

warrants in Columbia, Missouri, including one for KASTER’s residence located at 3807 N.

Oakland Gravel Road. During this search, numerous items of evidence were collected, that

definitively tied KASTER to the crime scene at Planned Parenthood, including, but not limited to,

the following:

               a.      A white Westlake Ace Hardware brand bucket, similar to that recovered
       from the Planned Parenthood arson scene, including the unique presence of two small
       diameter holes drilled into the bottom. The bucket was found inside the home affixed to a
       water filtration system.

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               b.     Numerous black plastic bucket lids, each having a recessed, channel-like,
       circular ring around the inner circumference of the lid. Four of these lids contained
       numerous 2” diameter holes that appeared to have been drilled along the center of the
       recessed channel-like ring. Field comparison between the hole-laden lids and pictures of
       the three round, 2” diameter, black plastic discs that were recovered from inside the
       Westlake Ace Hardware bucket found at the Planned Parenthood arson scene suggested
       the recovered plastic pieces were cut from similar lids using a 2’ hole saw.

              c.     A 2” diameter hole saw bit with black plastic shavings entangled therein.
       The shavings were similar to those recovered from inside the Westlake Ace Hardware
       bucket found at the Planned Parenthood arson scene.

             d.      A Missouri DOR vehicle registration receipt for the 2003 Toyota Sienna
       minivan that was the subject of the federal search warrant.

              e.      A Lowes receipt, dated 02/08/2019 at 09:40:11, identifying the cash
       purchase of a bucket and lid. The information contained on the receipt was entirely
       consistent with the previously discussed suspicious cash purchase information received
       from Lowe’s and the 02/08/2019 cash purchase observed on Lowes surveillance video.

               f.     A Hy-Vee receipt, dated 02/08/2019 at 09:16 a.m., containing purchase
       information entirely consistent with the 02/08/2019 cash purchase observed on Hy-Vee
       surveillance video.

               g.     Numerous glass jars, including Mason jars, some with accompanying metal
       lids.

               h.    Pieces of plywood similar in size and construction to wood recovered from
       inside the Westlake Ace Hardware bucket found at the Planned Parenthood arson scene.

              i.      Dog hair from KASTER’s dog, a Labrador/Golden Retriever, consistent in
       appearance to the hairs recovered from inside the Westlake Ace Hardware bucket found at
       the Planned Parenthood arson scene.

       23.     During the search of KASTER’s home, investigators did not locate a royal blue

colored Lowes brand bucket or accompanying lid. Similarly, investigators did not locate any

silver-colored Ansell HyFlex gloves, including any size 10, model number 11-727 gloves.

       24.     Based on these facts KASTER was arrested at 11:07 a.m. on March 2, 2019.




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       25.    The facts set forth in this affidavit are true and correct to the best of my knowledge

and belief.


                                                 _________________________________
                                                 Curtis J. Bryant
                                                 Special Agent
                                                 Federal Bureau of Investigation

                                             4th day of March, 2018.
Sworn to and subscribed before me, on this _______



                                                 __________________________________
                                                 WILLIE J. EPPS, JR.
                                                 United States Magistrate Judge




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